Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 1 of 51




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. ____________-CIV-___________/____________


  MONICA MATTEO-SALINAS, an individual,

         Plaintiff,

  vs.

  CAMPUS ELECTION ENGAGEMENT PROJECT INC.,
  a Delaware Corporation, and OHIO CAMPUS COMPACT,
  an Ohio Corporation,

        Defendants.
  ___________________________________________________/

                                           COMPLAINT

         1.      Plaintiff, MONICA MATTEO-SALINAS (hereinafter referred to as “Plaintiff” and

  “MATTEO-SALINAS”),          was    an   employee     of   Defendants,    CAMPUS       ELECTION

  ENGAGEMENT PROJECT INC., a Delaware Corporation (also referred to as “CEEP”), and

  OHIO CAMPUS COMPACT, an Ohio Corporation (also referred to as “OCC”), and Plaintiff

  brings this action against CEEP for alleged sex/gender discrimination, as well as retaliation, in

  violation of Title VII of the Civil Rights Act, 42 U.S.C. §2000 et seq., alleged age discrimination

  in violation of the Age Discrimination in Employment Act of 1967 (“ADEA”) as amended, 29

  U.S.C. §621 et seq., alleged sex/gender and discrimination and retaliation in violation of the

  Florida Civil Rights Act, F.S. §760.01 et seq., and against CEEP and OCC for alleged Tax Fraud

  violations of 26 U.S.C. §7434.

         2.      At all times material to this action, MATTEO-SALINAS was an individual residing

  in Miami-Dade County, Florida, within the jurisdiction of this Court.




                                                  1
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 2 of 51




         3.      At all times material to this action, CEEP has operated a national nonpartisan not-

  for-profit corporation that has worked to help administrators, faculty, staff and student leaders at

  America’s institutions of higher education engage students in federal, state and local elections,

  with CEEP’s main office based in Granville, Ohio.

         4.      At all times material to this action, OCC has operated a non-profit coalition of Forty

  (40) college and university presidents and their campuses while working to promote and develop

  the civic purposes of higher education, with OCC’s main office based in Granville, Ohio.

         5.      Jurisdiction is conferred on this Court by 28 U.S.C. §1331, §1332, §1337 and

  §1367, 42 U.S.C. §2000 et seq., 29 U.S.C. §621 et seq., and 26 U.S.C. §7434.

         6.      Venue is proper in this Court pursuant to 28 U.S.C. §1391 because all of the events,

  or a substantial part of the events, giving rise to this action, occurred in Miami-Dade County,

  Florida, within the jurisdiction of the United States District Court for the Southern District of

  Florida, Miami Division.

         7.      At all times material to this Complaint, Defendants, CEEP and OCC, directly or

  indirectly, acted in the interest of an employer toward MATTEO-SALINAS, including without

  limitation directly or indirectly controlling the terms of employment and compensation of Plaintiff

  between 2017 and 2021 while she performed duties as a Statewide Organizer in the State of

  Florida. Alternately, Defendants, CEEP and OCC, were joint employers of MATTEO-SALINAS

  because Defendants acted directly or indirectly in the interest of the other in relation to Plaintiff in

  the course of scope of the work MATTEO-SALINAS performed as a Statewide Organizer in the

  State of Florida between 2017 and 2021. As a second alternative, Defendants, CEEP and OCC,

  were joint employers of MATTEO-SALINAS because they commonly controlled the terms of

  compensation and/or employment of Plaintiff as a Statewide Organizer in the State of Florida




                                                     2
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 3 of 51




  between 2017 and 2021 and CEEP and OCC were not completely disassociated between 2017 and

  2021 with respect to the terms of compensation and/or overall employment of Plaintiff. As a final

  alternative, Defendants, CEEP and OCC, had a business relationship between 2017 and 2021 under

  which OCC received funding from CEEP during some or all of the years 2017, 2018, 2019, 2020,

  and/or 2021, as part of which MATTEO-SALINAS was hired to perform work as a Statewide

  Organizer in Florida for OCC and CEEP while OCC paid MATTEO-SALINAS’s compensation

  between approximately 2017 and 2020 for the duties Plaintiff carried out as a Statewide Organizer

  in Florida.

         8.      In or around February 2017, CEEP and OCC hired MATTEO-SALINAS as the

  Statewide Organizer in Florida based upon the hourly rate of $21.00 per hour, see Exhibit A: OCC

  Contractual Agreement from February 2017-December 2017 with Florida Statewide Organizer

  Job Description, with Plaintiff working over the next several years for Defendants through August

  2021 to conduct Florida-election assessments throughout the State of Florida—in locations such

  as Miami, Tampa, Tallahassee, and Orlando—and managing a portfolio of accounts in Florida

  including, for example, communication, recruiting, and managing students throughout Florida for

  voter registration and engaging students in federal, state, and local elections across Florida.

         9.      At all times material to this Complaint, CEEP and OCC, individually and/or

  collectively, had fifteen (15) or more employees for each working day in each of twenty (20) or

  more calendar weeks in 2020 and/or 2021.

         10.     At all times material to this Complaint, MATTEO-SALINAS was an employee of

  CEEP and OCC within the meaning of Title VII, 42 U.S.C. §2000e(f), the FCRA, F.S.

  §760.10(1)(a), and the ADEA, 29 U.S.C. §630(f), 29 U.S.C. §623 and 29 U.S.C. §631.




                                                    3
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 4 of 51




         11.     In connection with the work MATTEO-SALINAS performed for CEEP and OCC

  between approximately February 2017 and August 2021, and the compensation paid to Plaintiff

  for the work she performed for Defendants, while OCC issued MATTEO-SALINAS, for example,

  IRS Forms 1099 for the year 2019 in the amount of $54,016.00 and the year 2020 in the amount

  of $39,960.00, see Exhibits B and C, and CEEP likewise issued MATTEO-SALINAS an IRS Form

  W-2 for the year 2020 in the amount of $17,640.00 in gross wages, and the year 2021 in the amount

  of $37,921.50 in gross wages, see Exhibits D and E—the facts and circumstances of the work

  MATTEO-SALINAS performed for Defendants throughout her employment between

  approximately February 2017 and August 2021 reveal and confirm that Plaintiff was an employee

  of CEEP and OCC under the law at all times material to this action, not an independent contractor,

  including but not limited to because:

                 (a) Plaintiff worked on a permanent and continuous basis carrying out her
         duties as a Statewide Organizer each week between approximately February 2017
         and August 2021;
                 (b) Plaintiff was wholly dependent on Defendants for earning her livelihood
         between approximately February 2017 and August 2021;
                 (c) Plaintiff had no opportunity for profit or loss dependent upon any unique
         managerial skill of Plaintiff between approximately February 2017 and August
         2021;
                 (d) Defendants exercised direct and extensive control over the State
         organizing work she performed for Defendants between approximately February
         2017 and August 2021;
                 (e) the Statewide Organizer duties Plaintiff carried out on a daily basis
         between approximately February 2017 and August 2021 for Defendants did not
         require specialized skills by Plaintiff; and
                 (f) Plaintiff’s Statewide Organizer duties for Defendants between
         approximately February 2017 and August 2021 were an integral part of Defendants’
         operations.

         12.     At all times material to this action, CEEP and OCC had fifteen (15) or more

  employees, individually and/or collectively, and constituted an employer or joint employer of




                                                  4
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 5 of 51




  MATTEO-SALINAS within the meaning of Title VII, 42 U.S.C. §2000e(b), the FCRA, F.S.

  §760.02(7), and the ADEA, 29 U.S.C. §§623 and 630(b).

         13.     Between approximately January 2018 and August 2021, CEEP and OCC paid

  MATTEO-SALINAS on a salaried basis while Plaintiff worked as a full-time employee of

  Defendants, with Plaintiff’s final salary in 2021 being $62,000 per year. See Exhibit F: July 2021

  CEEP Offer Letter to Plaintiff with Statewide Organizer Job Responsibilities and Benefits

  Summary.

         14.     However, in 2018, 2019, and 2020, OCC paid MATTEO-SAINLAS’s wages

  reflected on an IRS Forms 1099 for each of those years despite MATTEO-SALINAS always being

  an employee, not an independent contractor, of CEEP and OCC between 2018 and 2020.

         15.     Likewise, in 2020 and 2021, CEEP paid at least part of MATTEO-SALINAS’s

  wages reflected on an IRS Forms W-2 for the years 2020 and 2021 even though part of Plaintiff’s

  wages were fraudulently reported by OCC for the year 2020 on an IRS Form 1099 despite

  MATTEO-SALINAS being an employee and part of MATTEO-SALINAS’s wages in 2020 being

  reported by CEEP for the year 2021 on an IRS Form 2021.

         16.     Throughout MATTEO-SALINAS’s employment with CEEP and OCC between

  approximately February 2017 and August 2021, Plaintiff satisfactorily performed her assigned

  duties as Statewide Organizer in Florida for Defendants.

         17.     In January 2021, March 2021, and April 2021, MATTEO-SALINAS made internal

  discrimination complaints to the Chairperson of CEEP’s Board of Directors, Elizabeth Ricci, about

  race discrimination against CEEP employees.

         18.     In April 2021, MATTEO-SALINAS complained to CEEP’s Human Resources

  Manager, Kathryn Sain, about race discrimination within CEEP.




                                                  5
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 6 of 51




         19.     Likewise, in April 2021/May 2021, MATTEO-SALINAS also made a complaint

  about race discrimination with CEEP to ADP TotalSource, an outsourced Human Resources

  management entity used by CEEP.

         20.     However, no remedial action was taken by CEEP to address MATTEO-

  SALINAS’s discrimination complaints.

         21.     On August 19, 2021, Maxim Thorne, CEEP’s Chief Executive Officer, notified

  MATTEO-SALINAS during a Zoom call that Plaintiff’s employment was being terminated

  because of a purported violation of what was characterized as a “new communications policy” that

  supposedly required all CEEP newsletters to be approved by Thorne before newsletters were to be

  sent out—despite no such policy existing to MATTEO-SALINAS’s knowledge and numerous

  male employees, including, for example, CEEP’s Director for the State of Ohio, Nate Hall, not

  being disciplined by CEEP for the same workplace conduct.

         22.     Moreover, CEEP hired approximately six (6) new employees during the last two

  months of MATTEO-SALINAS’s employment when Plaintiff was then Forty-Two (42) years of

  age, and it was MATTEO-SALINAS’s understanding that all of those newly hired employees were

  under the age of Thirty (30).

         23.     In August 2021, CEEP treated male employees and/or employees who were

  substantially younger than MATTEO-SALINAS and/or who were less than Forty (40) years old

  and had less or similar qualifications as MATTEO-SALINAS more favorably than MATTEO-

  SALINAS because of discrimination against Plaintiff based upon her sex/gender, Female, and/or

  her age, in violation of Tile VII, the ADEA, and the FCRA.

         24.     The reasons proffered by CEEP in August 2021 for terminating MATTEO-

  SALINAS’s employment were false and known to be false by CEEP at the time of Plaintiff’s




                                                 6
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 7 of 51




  termination and instead were a pretext for unlawful disparate treatment, discrimination, and

  retaliation against MATTEO-SALINAS because of (a) Plaintiff’s sex/gender, Female, in violation

  of Title VII and the FCRA; (b) Plaintiff’s age in violation of the ADEA and FCRA; and (c) illegal

  retaliation for MATTEO-SALINAS’s discrimination complaints in violation of Title VII and the

  FCRA.

                      EXHAUSTION OF ADMINISTRATVIE REMEDIES

          25.    On November 18, 2021, MATTEO-SALINAS filed a Charge of Discrimination

  against CEEP and OCC with the United States Equal Employment Opportunity Commission

  (EEOC) and Florida Commission for Human Relations (FCHR), which the EEOC assigned

  separate Charge Numbers as EEOC Charge No. 510-2022-01093 (as to CEEP) and EEOC Charge

  No. 510-2022-01139 (as to OCC), alleging that she had been subjected to age and sex

  discrimination as well as retaliation in violation of Title VII, the ADEA, and the FCRA. A copy

  of MATTEO-SALINAS’s Charge of Discrimination filed with the EEOC on November 18, 2021

  is attached hereto as Exhibit G.

          26.    On or around March 21, 2022, the EEOC issued a Dismissal and Notice of Suit

  Rights to MATTEO-SALINAS in connection with Charge No. 510-2022-01093. See Exhibit H,

  and on March 24, 2022, the EEOC provided MATTEO-SALINAS’s Notice of Rights for EEOC

  Charge No. 510-2022-01093 to the undersigned counsel for MATTEO-SALINAS.

          27.    As of June 16, 2022, more than One Hundred and Eighty (180) days have passed

  since the filing of MATTEO-SALINAS’s Charge of Discrimination against CEEP and OOC on

  November 18, 2021 and the FCHR did not issue any determination concerning MATTEO-

  SALINAS’s Charge. As a result, pursuant to F.S. §760.11(18), which provides that in the event

  that the FCHR fails to conciliate or determine whether there is reasonable cause on any complaint




                                                 7
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 8 of 51




  under that section within 180 days of the filing of the complaint, an aggrieved person may file a

  civil action “as if the commission determined that there was reasonable cause,” MATTEO-

  SALINAS has exhausted all administrative remedies under Florida as well as Federal law.

         28.     MATTEO-SALINAS’s Complaint in this action is being filed with the Court on

  June 16, 2022 within Ninety (90) days of MATTEO-SALINAS’s receipt on March 24, 2022 of

  the EEOC’s Dismissal and Notice of Suit Rights for Charge No. 510-2022-01093.

         29.     All conditions precedent to the institution of this action have either occurred or been

  waived.

                                       COUNT I
           VIOLATIONs OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964,
        42 U.S.C. §2000e ET SEQ. - UNLAWFUL SEX/GENDER DISCRIMINATION

         Plaintiff, MONICA MATTEO-SALINAS, reasserts and reaffirms the allegations of

  Paragraphs 1 through 29 as if fully set forth herein and further states that this is an action against

  CAMPUS ELECTION ENGAGEMENT PROJECT INC. for sex/gender discrimination in

  violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e et seq.

         30.     Title VII of the Civil Rights Act of 1964, as amended, provides that it is unlawful

  for an employer to “discharge any individual, or otherwise to discriminate against any individual

  with respect to his compensation, terms, conditions, or privileges of employment, because of such

  individual’s … sex ...” 42 U.S.C. §2000e-2(a)(1).

         31.     In at least August 2021, MATTEO-SALINAS was subjected to disparate treatment

  by CEEP because of Plaintiff’s sex/gender, Female, by, inter alia:           (a) CEEP disciplining

  MATTEO-SALINAS for conduct which CEEP did not discipline similarly situated male

  employees; and (b) CEEP terminating Plaintiff’s employment on August 19, 2021 because of

  Plaintiff’s sex/gender, Female, in violation of 42 U.S.C. §2000e-2(a)(1).




                                                    8
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 9 of 51




            32.    CEEP’s disparate treatment of MATTEO-SALINAS because of Plaintiff’s

  sex/gender, Female, was so severe and pervasive that it altered, the terms, conditions, and

  privileges of MATTEO-SALINAS’s employment culminating with the termination of Plaintiff’s

  employment in August 2021.

            33.   A motivating factor behind CEEP’s termination of MATTEO-SALINAS’s

  employment in August 2021 was Plaintiff’s sex/gender, Female, in violation of 42 U.S.C. §2000e-

  2(a)(1).

            34.   The reasons proffered and relied upon by CEEP for terminating MATTEO-

  SALINAS’s employment were false and known to be false by CEEP at the time of Plaintiff’s

  termination and instead were a pretext for unlawful disparate treatment and discrimination against

  MATTEO-SALINAS because of Plaintiff’s sex/gender, Female, in violation of 42 U.S.C. §2000e-

  2(a)(1).

            35.   CEEP’s violations of Title VII were intentional and were done with malice and

  reckless disregard for MATTEO-SALINAS’s rights as guaranteed under the laws of the United

  States.

            36.   MATTEO-SALINAS has suffered lost earnings and employment benefits,

  emotional distress, loss of self-esteem and damages as a direct result of CEEP’s violations of 42

  U.S.C. §2000e-2(a)(1).

            37.   Pursuant to 42 U.S.C. §2000e-5(k) and §1988(b), MATTEO-SALINAS is entitled

  to recover from CEEP her reasonable attorneys’ fees and costs.

            WHEREFORE, Plaintiff, MONICA MATTEO-SALINAS, demands judgment against

  Defendant, CAMPUS ELECTION ENGAGEMENT PROJECT INC., for back pay, employment

  benefits, other compensation including bonuses, compensatory damages, equitable relief including




                                                  9
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 10 of 51




   but not limited to front pay, punitive damages, injunctive relief, interest, attorney’s fees, costs,

   expert fees and such other and further relief as this Honorable Court deems proper.

                                     COUNT II
                      RETALIATION IN VIOLATION OF TITLE VII
                OF THE CIVIL RIGHTS ACT OF 1964, 42 U.S.C. §2000e ET SEQ.

          Plaintiff, MONICA MATTEO-SALINAS, reasserts and reaffirms the allegations of

   Paragraphs 1 through 29 as if fully set forth herein and further states that this is an action against

   CAMPUS ELECTION ENGAGEMENT PROJECT INC., for Retaliation in violation of Title VII

   of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e-3.

          38.     Pursuant to 42 U.S.C. §2000e-3(a), “[i]t shall be an unlawful employment practice

   for an employer to discriminate against any of his employees …. because [the employee] has

   opposed any practice made an unlawful employment practice by this subchapter, or because he

   has made a charge, testified, assisted, or participated in any manner in an investigation, proceeding,

   or hearing under this subchapter.”

          39.     When MATTEO-SALINAS made internal discrimination complaints in January

   2021, March 2021, and April 2021 to the Chairperson of CEEP’s Board of Directors, Elizabeth

   Ricci, about race discrimination against CEEP employees, MATTEO-SALINAS engaged in

   protected activity within the meaning of Title VII, 42 U.S.C. §2000e-3(a).

          40.     When MATTEO-SALINAS complained to CEEP’s Human Resources Manager,

   Kathryn Sain, in April 2021 about race discrimination within CEEP, MATTEO-SALINAS

   engaged in protected activity within the meaning of Title VII, 42 U.S.C. §2000e-3(a).

          41.     When MATTEO-SALES made a made a complaint about race discrimination in

   April 2021/May 2021 with CEEP through ADP TotalSource, the outsourced Human Resources




                                                    10
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 11 of 51




   management entity used by CEEP, MATTEO-SALINAS engaged in protected activity within the

   meaning of Title VII, 42 U.S.C. §2000e-3(a).

           42.   MATTEO-SALINAS reasonably and in good faith believed between January 2021

   and May 2021 that there was racially discriminatory employment practices within CEEP when

   Plaintiff made race discrimination complaints to CEEP in January 2021, March 2021, April 2021,

   and May 2021.

           43.     CEEP intentionally retaliated against MATTEO-SALINAS on August 19, 2021

   when CEEP terminated MATTEO-SALINAS’s employment because of Plaintiff’s repeated race

   discrimination complaints, in violation of 42 U.S.C. §2000e-3(a).

           44.   CEEP’s termination of MATTEO-SALINAS’s employment in August 2021 was

   unlawful retaliation in violation of 42 U.S.C. §2000e-3(a) because of Plaintiff’s good faith

   objections to CEEP’s racially discriminatory employment practices.

           45.   The fact that MATTEO-SALINAS engaged in activity protected by Title VII was

   a motivating factor in CEEP’s termination of Plaintiff’s employment in August 2021, in violation

   of 42 U.S.C. §2000e-3(a).

           46.   The reasons proffered and relied upon by CEEP for terminating MATTEO-

   SALINAS’s employment were false and known to be false by CEEP at the time of Plaintiff’s

   termination and instead were a pretext for unlawful retaliation against MATTEO-SALINAS

   because of Plaintiff’s repeated race discrimination complaints, in violation of 42 U.S.C. §2000e-

   3(a).

           47.   CEEP’s unlawful retaliation against MATTEO-SALINAS was intentional and done

   with malice and reckless disregard for MATTEO-SALINAS’s rights as guaranteed under Title

   VII.




                                                  11
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 12 of 51




          48.     As a direct and proximate result of CEEP’s unlawful retaliation against MATTEO-

   SALINAS, Plaintiff has suffered damages and was deprived of job-related economic benefits, all

   in amounts to be established at trial, including suffering a loss of earnings, emotional distress, loss

   of self-esteem and other injuries as a direct result of CEEP’s violations of 42 U.S.C. §2000e-3(a).

          49.     Pursuant to 42 U.S.C. §2000e-5(k) and §1988(b), MATTEO-SALINAS is entitled

   to recover her reasonable attorneys’ fees and costs from CEEP.

          WHEREFORE, Plaintiff, MONICA MATTEO-SALINAS, demands judgment against

   Defendant, CAMPUS ELECTION ENGAGEMENT PROJECT INC., for back pay, employment

   benefits, other compensation including bonuses, compensatory damages, equitable relief including

   but not limited to front pay, punitive damages, injunctive relief, interest, attorney’s fees, costs,

   expert fees and such other and further relief as this Honorable Court deems proper.

                                    COUNT III
                SEX/GENDER AND AGE DISCRIMINATION IN VIOLATION OF
                          THE FLORIDA CIVIL RIGHTS ACT

          Plaintiff, MONICA MATTEO-SALINAS, reasserts and reaffirms the allegations set forth

   in paragraphs 1 through 29 above and further states that this is an action against CAMPUS

   ELECTION ENGAGEMENT PROJECT INC. for sex/gender discrimination in violation of

   Florida Statutes §760.10(1).

          50.     The Florida Civil Rights Act provides that it is an unlawful employment practice

   for an employer “[t]o discharge or to fail or refuse to hire any individual, or otherwise to

   discriminate against any individual with respect to compensation, terms, conditions, or privileges

   of employment, because of such individual’s race, color, religion, sex, pregnancy, national origin,

   age, handicap, or marital status.” F.S. §760.10(1)(a).




                                                     12
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 13 of 51




          51.     At all times material to this action, MATTEO-SALINAS has been an aggrieved

   person within the meaning of F.S. §760.02(10).

          52.     In at least August 2021, MATTEO-SALINAS was subjected to disparate treatment

   by CEEP because of Plaintiff’s sex/gender, Female, and/or age, then Forty-Two (42) by, inter alia:

   (a) CEEP disciplining MATTEO-SALINAS for conduct which CEEP did not discipline similarly

   situated male and/or younger employees; and (b) CEEP terminating Plaintiff’s employment on

   August 19, 2021 because of Plaintiff’s sex/gender, Female, and/or age, in violation of F.S.

   §760.10(1).

          53.       CEEP’s disparate treatment of MATTEO-SALINAS because of Plaintiff’s

   sex/gender, Female, and/or age, was so severe and pervasive that it altered, the terms, conditions,

   and privileges of MATTEO-SALINAS’s employment culminating with the termination of

   Plaintiff’s employment in August 2021.

          54.     A motivating factor behind CEEP’s termination of MATTEO-SALINAS’s

   employment in August 2021 was Plaintiff’s sex/gender, Female, and/or age, in violation of F.S.

   §760.10(1).

          55.     The reasons proffered and relied upon by CEEP for terminating MATTEO-

   SALINAS’s employment were false and known to be false by CEEP at the time of Plaintiff’s

   termination and instead were a pretext for unlawful disparate treatment and discrimination against

   MATTEO-SALINAS because of Plaintiff’s sex/gender, Female, and/or age, in violation of F.S.

   §760.10(1).

          56.     CEEP’s violations of §760.10(1)(a) were intentional and were done with malice

   and reckless disregard for MATTEO-SALINAS’s rights as guaranteed under the laws of the State




                                                    13
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 14 of 51




   of Florida, such that MATTEO-SALINAS is entitled to punitive damages against CEEP pursuant

   to F.S. §760.11(5).

           57.     MATTEO-SALINAS has suffered lost earnings, emotional distress, loss of self-

   esteem, and other damages as a direct result of CEEP’s violations of F.S. §760.10(1).

           58.     Pursuant to F.S. §760.11(5), MATTEO-SALINAS is entitled to recover her

   reasonable attorneys’ fees and costs from Defendants as a result of CEEP’s violations of the

   FCRA.

           WHEREFORE, Plaintiff, MONICA MATTEO-SALINAS, demands judgment against

   Defendant, CAMPUS ELECTION ENGAGEMENT PROJECT INC., for back pay, employment

   benefits, other compensation including bonuses, compensatory damages, including, but not limited

   to, damages for mental anguish, loss of dignity, and any other intangible injuries, equitable relief,

   interest, costs, attorney’s fees, expert fees and such other and further relief as this Honorable Court

   deems proper.

                                COUNT IV
   RETALIATION IN VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT, F.S. §760.10

           Plaintiff, MONICA MATTEO-SALINAS, reasserts and reaffirms the allegations set forth

   in paragraphs 1 through 29 above and further states that this is an action against CAMPUS

   ELECTION ENGAGEMENT PROJECT INC. for Retaliation in violation of the Florida Civil

   Rights Act, F.S. §760.10.

           59.     Pursuant to F.S. §760.10(7), it is “an unlawful employment practice for an

   employer … to discriminate against any person because that person has opposed any practice

   which is an unlawful employment practice under this section, or because that person has made a

   charge, testified, assisted, or participated in any manner in an investigation, proceeding, or hearing

   under this section.”



                                                     14
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 15 of 51




          60.    At all times material to this action, MATTEO-SALINAS has been an aggrieved

   person within the meaning of F.S. §760.02(10).

          61.    When MATTEO-SALINAS made internal discrimination complaints in January

   2021, March 2021, and April 2021 to the Chairperson of CEEP’s Board of Directors, Elizabeth

   Ricci, about race discrimination against CEEP employees, MATTEO-SALINAS engaged in

   protected activity within the meaning of the FCRA, F.S. §760.10(7).

          62.    When MATTEO-SALINAS complained to CEEP’s Human Resources Manager,

   Kathryn Sain, in April 2021 about race discrimination within CEEP, MATTEO-SALINAS

   engaged in protected activity within the meaning of the FCRA, F.S. §760.10(7).

          63.    When MATTEO-SALES made a made a complaint about race discrimination in

   April 2021/May 2021 with CEEP through ADP TotalSource, the outsourced Human Resources

   management entity used by CEEP, MATTEO-SALINAS engaged in protected activity within the

   meaning of the FCRA, F.S. §760.10(7).

          64.    MATTEO-SALINAS reasonably and in good faith believed between January 2021

   and May 2021 that there was racially discriminatory employment practices within CEEP when

   Plaintiff made race discrimination complaints to CEEP in January 2021, March 2021, April 2021,

   and May 2021.

          65.      CEEP intentionally retaliated against MATTEO-SALINAS on August 19, 2021

   when CEEP terminated MATTEO-SALINAS’s employment because of Plaintiff’s repeated race

   discrimination complaints, in violation of the FCRA, F.S. §760.10(7).

          66.    CEEP’s termination of MATTEO-SALINAS’s employment in August 2021 was

   unlawful retaliation in violation of the FCRA because of Plaintiff’s good faith objections to

   CEEP’s racially discriminatory employment practices.




                                                    15
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 16 of 51




          67.     The fact that MATTEO-SALINAS engaged in activity protected by Title VII was

   a motivating factor in CEEP’s termination of Plaintiff’s employment in August 2021, in violation

   of F.S. §760.10(7).

          68.     The reasons proffered and relied upon by CEEP for terminating MATTEO-

   SALINAS’s employment were false and known to be false by CEEP at the time of Plaintiff’s

   termination and instead were a pretext for unlawful retaliation against MATTEO-SALINAS

   because of Plaintiff’s repeated race discrimination complaints, in violation of F.S. §760.10(7).

          69.     CEEP’s violations of §760.10 were intentional and were done with malice and

   reckless disregard for MATTEO-SALINAS’s rights as guaranteed under the laws of the State of

   Florida through the Florida Civil Rights Act, such that MATTEO-SALINAS is entitled to punitive

   damages against CEEP pursuant to F.S. §760.11(5).

          70.     MATTEO-SALINAS has suffered lost earnings, emotional distress, loss of self-

   esteem and other injuries as a direct result of CEEP’s violations of F.S. §760.10(7).

          71.     Pursuant to F.S. §760.11(5), MATTEO-SALINAS is entitled to recover her

   reasonable attorneys’ fees and costs from CEEP as a result of CEEP’s violations of the FCRA.

          WHEREFORE, Plaintiff, MONICA MATTEO-SALINAS, demands judgment against

   Defendant, CAMPUS ELECTION ENGAGEMENT PROJECT INC., for back pay, employment

   benefits, other compensation including bonuses, compensatory damages, equitable relief including

   but not limited to front pay, injunctive relief, interest, attorney’s fees, costs, expert fees and such

   other and further relief as this Honorable Court deems proper.




                                                     16
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 17 of 51




                                 COUNT V
       AGE DISCRIMINATION IN VIOLATION OF THE AGE DISCRIMINATION IN
                         EMPLOYMENT ACT (ADEA)

          Plaintiff, MONICA MATTEO-SALINAS, reasserts and reaffirms the allegations of

   Paragraphs 1 through 29 as if fully set forth herein and further states that this is an action against

   CAMPUS ELECTION ENGAGEMENT PROJECT INC. for age discrimination violation of the

   Age Discrimination in Employment Act (ADEA), as amended, 29 U.S.C. § 621, et seq.

          72.      At all times material to this action, MATTEO-SALINAS was an individual

   protected by the ADEA, 29 U.S.C. §631(a), in that MATTEO-SALINAS was at least Forty (40)

   years of age.

          73.      In at least August 2021, CEEP knowingly and willfully discriminated against

   MATTEO-SALINAS because of her age, then Forty-Two (42), in violation of 29 U.S.C.

   §623(a)(1).

          74.      Moreover, in at least August 2021, CEEP treated employees who were substantially

   younger than MATTEO-SALINAS and/or who were less than Forty (40) years old and had less or

   similar qualifications as MATTEO-SALINAS more favorably than MATTEO-SALINAS, in

   violation of 29 U.S.C. §623(a)(1).

          75.      Despite the fact that MATTEO-SALINAS satisfactorily performed her essential

   duties as a Statewide Organizer in Florida for CEEP between approximately February 2017 and

   August 2021, CEEP unlawfully terminated MATTEO-SALINAS in August 2021 because of

   MATTEO-SALINAS’s age, in violation of 29 U.S.C. §623(a)(1).

          76.      In August 2021, CEEP terminated MATTEO-SALINAS’s employment because of

   a discriminatory animus or bias by CEEP against Plaintiff because of her age, then Forty-Two

   (42), in violation of the ADEA, 29 U.S.C. §623(a)(1).




                                                    17
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 18 of 51




          77.     But for MATTEO-SALINAS’s age, Plaintiff would not have been terminated from

   her employment by CEPP in August 2021, in violation of the ADEA, 29 U.S.C. §623(a)(1).

          78.     CEEP’s decision to terminate MATTEO-SALINAS’s employment in August 2021

   based upon Plaintiff’s age constitutes intentional discrimination against Plaintiff in violation of the

   ADEA, 29 U.S.C. §623(a)(1). In other words, but for MATTEO-SALINAS’s age, Plaintiff would

   not have been fired by CEEP in August 2021 as a Statewide Organizer in Florida.

          79.     CEEP terminated MATTEO-SALINAS’s employment in August 2021 because of

   MATTEO-SALINAS’s age and for a false and pretextual reason that was discriminatory because

   of MATTEO-SALINAS’s age,

          80.     The reasons proffered and relied upon by CEEP for terminating MATTEO-

   SALINAS’s employment were false and known to be false by CEEP at the time of Plaintiff’s

   termination and instead were a pretext for unlawful disparate treatment and discrimination against

   MATTEO-SALINAS because of Plaintiff’s age, in violation of the ADEA, 29 U.S.C. §623(a)(1).

          81.     As a direct and proximate result of CEEP’s unlawful age discrimination against

   MATTEO-SALINAS in violation of the ADEA, Plaintiff has suffered damages and has been

   deprived of job-related economic benefits, lost wages, back pay, lost bonuses and/or commissions,

   benefits, front pay, and other damages in amounts to be established at trial.

          82.     CEEP’s actions in violation of the ADEA were undertaken intentionally, willfully,

   and maliciously with respect to, or with malice and/or reckless disregard for, MATTEO-

   SALINAS’s federally protected rights under the ADEA, as a result of which MATTEO-SALINAS

   is entitled, pursuant to 29 U.S.C. §216(b) and the ADEA, to liquidated damages from CEEP equal

   to back pay in an amount to be established at trial.




                                                     18
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 19 of 51




          83.     Pursuant to 29 U.S.C. §216(b) and the ADEA, MATTEO-SALINAS is entitled to

   recover her reasonable attorneys’ fees and costs from CEEP.

          WHEREFORE, Plaintiff, MONICA MATTEO-SALINAS demands judgment against

   Defendant, CAMPUS ELECTION ENGAGEMENT PROJECT INC., for lost wages, back pay,

   lost bonuses and/or commissions, benefits such as health and pension benefits, front pay,

   liquidated damages, equitable relief including but not limited to interest, attorney’s fees, costs and

   such other and further relief as the Honorable Court deems proper.

                                        COUNT VI
                         TAX FRAUD IN VIOLATION OF 26 U.S.C. §7434

          Plaintiff, MONICA MATTEO-SALINAS, reasserts and reaffirms the allegations set forth

   in paragraphs 1 through 29 above and further states that this is an action against Defendants,

   CAMPUS ELECTION ENGAGEMENT PROJECT INC. and OHIO CAMPUS COMPACT, for

   Tax Fraud violations under 26 U.S.C. §7434.

          84.     Despite the fact that Defendants, CEEP and OCC, had full knowledge that

   MATTEO-SALINAS was an employee within the meaning of the law at all times between

   approximately February 2017 and August 2021, Defendants knowingly failed to issue Plaintiff

   accurate IRS W-2 Forms for multiple years including at least 2017, 2018, 2019, and 2020 as part

   of CEEP and OCC: (a) willfully avoiding Defendants’ obligations to comply with applicable tax

   and wage & hour laws; (b) Defendants instead fraudulently issuing IRS 1099 Forms to MATTEO-

   SALINAS for at least the years 2018, 2019, and 2020 when OCC issued IRS Forms 1099 to

   MATTEO-SALINAS for the year 2019 in the amount of $54,016.00 and the year 2020 in the

   amount of $39,960.00, see Exhibits B and C, and CEEP likewise issued MATTEO-SALINAS an

   IRS Form W-2 for the year 2020 in the amount of $17,640.00 in gross wages, and the year 2021

   in the amount of $37,921.50 in gross wages, see Exhibits D and E.



                                                    19
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 20 of 51




          85.     Between approximately February 2017 and August 2021, MATTEO-SALINAS

   performed the same essential job duties on a continuous basis as a permanent, full-time employee

   as a Statewide Organizer in Florida, but OCC nonetheless issued IRS Forms 1099 to MATTEO-

   SALINAS for at least 2019 and 2020 while CEEP knowingly issued an IRS W-2 Form to

   MATTEO-SALINAS for the year 2021 that CEEP knew failed to reflect all of the actual wages

   earned by MATTEO-SALINAS.

          86.     The IRS 1099 Forms and information returns issued by OCC to MATTEO-

   SALINAS for at least the years 2018, 2019, and 2020 were fraudulent and known to be fraudulent

   by Defendants at the time the returns were issued by OCC, while CEEP likewise knowingly issued

   a fraudulent IRS Form W-2 to MATTEO-SALINAS for the year 2020 as part of Defendants’

   prolonged efforts to avoid Defendants’ responsibility to pay applicable employment and income

   taxes required by State and Federal law by employers with respect to all of the actual wages earned

   by MATTEO-SALINAS.

          87.     As a result of the filing of fraudulent IRS 1099 and W-2 Forms and information

   returns for at least the years 2018, 2019, and 2020 by CEEP and OCC with respect to MATTEO-

   SALINAS—when OCC did not withhold and remit or pay applicable employment and income

   taxes in connection with the compensation paid to Plaintiff for her continuous work for Defendants

   between 2018 and 2020—and CEEP likewise knowingly failed to pay in at least 2018, 2019, and

   2020, the applicable employment and income taxes for all of the actual wages earned by

   MATTEO-SALINAS as a Statewide Organizer in Florida—despite Plaintiff being an “employee”

   as a matter of law—MATTEO-SALINAS suffered damages.

          88.     Pursuant to 26 U.S.C. §7434(b), MATTEO-SALINAS is entitled to damages from

   CEEP and OCC for Defendants’ violations of 26 U.S.C. §7434, in an amount per violation that is




                                                   20
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 21 of 51




   equal to the greater of (a) $5,000.00 per violation; or (b) the actual damages sustained by Plaintiff

   as a proximate result of Defendants’ fraudulent IRS Forms 1099 and/or W-2 and information

   return filings for at least 2018, 2019, and 2020.

            89.   Pursuant to 26 U.S.C. §7434(b)(2)-(3), MATTEO-SALINAS is entitled to recover

   her reasonable attorneys’ fees and costs from CEEP and OCC under Count VI of this Complaint.

            WHEREFORE, Plaintiff, MONICA MATTEO-SALINAS, demands judgment against

   Defendants, jointly and severally, CAMPUS ELECTION ENGAGEMENT PROJECT INC. and

   OHIO CAMPUS COMPACT, for damages, attorneys’ fees, and costs pursuant to 26 U.S.C.

   §7434.


                                       JURY TRIAL DEMAND

            MONICA MATTEO-SALINAS demands trial by jury on all issues so triable.



   Dated: June 16, 2022                          Respectfully submitted,

                                         By:     s/KEITH M. STERN
                                                 Keith M. Stern, Esquire
                                                 Florida Bar No. 321000
                                                 E-mail: employlaw@keithstern.com
                                                 LAW OFFICE OF KEITH M. STERN, P.A.
                                                 80 S.W. 8th Street, Suite 2000
                                                 Miami, Florida 33132
                                                 Telephone: (305) 901-1379
                                                 Facsimile: (561) 288-9031
                                                 Attorneys for Plaintiff




                                                       21
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 22 of 51




                    EXHIBIT A
    Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 23 of 51




             Ohio Campus Compact Campus Vote Initiative


                           Contractual Agreement




                           With: Monica Matteo Salinas

                          Effective: 2/1/2017 to 12/1/2017




1
    Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 24 of 51

                   Ohio Campus Compact Contractual Agreement
SECION A: Parties to the Agreement

THIS AGREEMENT is made and entered into and between Ohio Campus Compact (OCC) 615
North Pearl Street, Granville, Ohio 43023 as the managing agent for the Ohio 2016 Campus
Vote Initiative and Monica Matteo Salinas (Contractor), Social Security # xxx-xx-xxxx

SECTION B: Terms of Agreement

    1. DESCRIPTION OF SERVICES: Contractor agrees to provide services as set forth and
       described in Exhibit A, entitled Job Description, which is incorporated herein by
       reference. Contractor further warrants that she possesses the requisite skills and or
       resources to provide said services.
    2. COMPENSATION FOR SERVICES: OCC agrees to pay the Contractor within 30 days
       according to the schedule set forth in Exhibit B, which is incorporated herein by
       reference. For any reimbursement of miscellaneous out-of-pocket expenses, the
       Contractor will furnish receipts and or other appropriate documentation as required by
       OCC. All funds paid to satisfy this contract will be withdrawn from Campus Election
       Engagement Project Funds held in account at Ohio Campus Compact and made payable
       to said Contractor on request.
    3. TERMS OF AGREEMENT: This agreement shall be in effect from 2/1/2017 to 8/1/2017,
       unless terminated by one of the parties as provided below. In no event shall this contract
       be construed to obligate OCC beyond the current year.
    4. 90-DAY TRAINING PERIOD: Newly hired contract employees are in “training” status
       for the first 90 days. This period is a time for the employee to demonstrate his/her ability,
       interest, and skill on the job to determine the degree to which the employee satisfies the
       organizational needs, staff works styles, and expectations. Further, given the fact that
       Ohio is an “employment-at-will” state, during the period of employment, both OCC and
       the employee retain the right to terminate the employment at any time with or without
       cause. At the conclusion of the 90-day period, the supervisor will review an employee’s
       performance. At the discretion of the supervisor, and with the approval of the OCC
       Executive Director, on of three actions will occur: (1) Replacement of the training status
       with that of regular contact employee; (2) Continuation of training status up to an
       additional 30 days; (3) Termination.
    5. CERTIFICATION OF AVAILABLE FUNDS: Obligations of OCC under this contract
       are subject to the determination of the Executive Director of OCC that funds have been
       deposited to the Campus Vote Initiative Fund account held by Ohio Campus Compact
       and are available to be appropriated for this purpose.
    6. NATURE OF RELATIONSHIP: It is fully understood and agreed that the Contractor is
       not an employee of OCC or the State of Ohio, and therefore: (1) Is not eligible for any
       fringe benefits; and (2) Is responsible for payment of all city, state and federal taxes on
       income, including any unemployment and workers’ compensation premiums OCC will
       report payments under this contract via form 1099 if annual earnings equal $600 or more.
       OCC does not withhold any portion of the Contractor’s payment.
    7. SUCCESORS AND ASSIGNS: Neither this contract or any rights hereunder may be
       assigned or transferred in whole or part by either party, without the prior written consent
2
    Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 25 of 51

        of the other party. The work contemplated in this contract is to be performed by the
        Contractor, who may subcontract without OCC’s approval for the purpose of articles,
        supplies, components or special mechanical services that do not involve the type of work
        or services described in Exhibit A, but which are required for its satisfactory completion.
        The Contractor shall not enter into other subcontracts without written approval by OCC.
        All work subcontracted shall be at the expense of the Contractor.
    8. CONFLICT OF INTEREST: Contractor certifies that there exists no personal interest
        wherein the acceptance of this contract would be incompatible with or in conflict with the
        proper discharge and fulfillment of the duties and responsibilities detailed herein.
        Contractor further agrees to refrain from the voluntary acquisition of any such interest
        prior to the completion of said work and to inform OCC of any involuntary conflict of
        interest. Contractor shall not participate in any action affecting the work under this
        contract unless OCC shall determine that, in light of the personal interest disclosed, her
        participation in any such action would not be contrary to the public interest.
    9. CHANGES/MODIFICATIONS: OCC and the Contractor agree that OCC may make
        adjustments in the total amount of this contract as may be necessary to provide essential
        services; adjustments shall not cause OCC to exceed annual allocations. An increase in
        the rate or change in type of service maybe subject to approval by the OCC Board before
        any such change is valid and enforceable.
    10. TERMINATION OR DEFAULT: Either party may terminate this contract by providing
        to the other party a written notice of the intended termination date. Such notice must be
        provided no less than 14 days prior to the intended termination. In the event that the
        Contractor should fail to provide any service described in Exhibit A, or should otherwise
        breach any provision contained herein, OCC may, by written notice to the Contractor,
        terminate the contract immediately. At its option, OCC may allow the Contractor to
        correct the deficiency within 10 days before giving notice of termination. Termination
        pursuant to this paragraph will relieve either party of further obligation under this
        contract. In no event will OCC be obligated to pay for any services not actually
        performed by the Contractor.
    11. RECORDS RETENTION: The Contractor shall maintain independent books, records,
        documents, and papers involving transactions relative to the performance of this contract
        that reflect all direct and indirect costs of any nature expended in the performance
        thereof. These records, books, documents, and papers shall be retained for seven (7) years
        unless OCC approves a shorter retention period, in writing. The Contractor may apply for
        such authorization after the contract year in which the final entry was made. Such records
        shall be made available and subject to audit and inspection at all reasonable times during
        the period of their required retention by individuals authorized by OCC.
    12. ENTIRE AGREEMENT: WAIVER SERVABILITY: This contract, when signed by both
        parties, contains the entire agreement between the parties herein. No rights herein will be
        waived, unless specifically agreed upon in writing by the parties hereto. This contract
        supersedes any and all previous agreements, whether written or oral, between the parties.
        A waiver by any party of any breach or default by the other party under this contract shall
        not constitute a continuing waiver by such party of any subsequent act in breach of or in
        default hereunder.

In Witness whereof the parties have signed this agreement on the dates indicated:

3
    Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 26 of 51

OHIO CAMPUS COMPACT
Richard Kinsley, Executive Director, Ohio Campus Compact, 631 North Pearl Street, Granville,
Ohio 43023

Signature _________________________________________ Date_____________________

CONTRACTOR
Monica Matteo Salinas, Consultant
[ADDRESS]

Signature _________________________________________ Date______________________




4
   Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 27 of 51


                        Exhibit A - Contractor Job Description
Position:             Florida Statewide Organizer
Event:                Campus Election Engagement Project
Under Contract to:    Ohio Campus Compact
Terms of Agreement: 2/2017-12/2017
Hours:                Billable hours averaging up to 10-15 hours per week, to be assigned by
project founder Paul Loeb and National Director Amy Ludwig
                      Hours may increase with written authorization from Loeb or Ludwig.
Rate:                 $21.00 per hour, maximum payment for a weekly period $320. May be
                      more for selected weeks like site visits, in which case an email pre-
                      authorization from Loeb or Ludwig will suffice to authorize the additional
                      hours.

Description of Activities:

Florida state work: Work to prepare Florida schools for the 2017 and 2018 elections. This work
will entail working with campus student, staff and faculty on long lead areas like securing on-
campus polling stations; integrating classroom and voter registration; developing approaches and
resources for greater faculty involvement, including replicating our James Madison University
model of giving credit to students for participation in election engagement efforts and our West
Chester model of securing work/study funds; working up templates for campus election
websites, replicating ongoing campus-funded models like Ohio State’s OSU Votes, working to
have student governments allocate resources for 2017-2018, tracking electoral participation with
our campus needs assessment, and convincing schools to sign on with the NSLVE survey of
student electoral participation. Work may also include gathering reports from schools and
creating reports on work.

Monitoring and Evaluation of Services:
Will work under the supervision and oversight of CEEP National Director Amy Ludwig.

Hours of Work and Worksite:
There are no prescribed hours of work for this position. A flex-time policy will be in place,
where the contractor will record hours on the project. Monthly documentation of hours will be
reported to Ohio Campus Compact for payment at the rate of $21.00 per hour at the end of the
second week of the month. Hours may vary from week to week depending on the tasks to be
accomplished. Additional hours can be authorized by CEEP founder Paul Loeb or National
Director Ludwig.

                             EXHIBIT B - Payment Schedule
OCC will pay Contractor upon receipt of an invoice from said Contractor that documents service
performed per hour, at the reimbursement rate of $21 per hour.

Necessary out-of-pocket expenses are to be submitted to the executive director with receipts and
justification. Out-of-pocket reimbursements are not considered payments under this contract.
5
    Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 28 of 51


Amounts paid under this contract for the time specified may not exceed the following levels, or a
yearly total of $16,000 unless first authorized by an amendment to this contract.

BILLABLE CONTRACTOR HOURS: up to 750 hours during the course of the year.

INVOICING INSTRUCTIONS: Use the OCC Deposit/Payment Authorization forms provided
by OCC to request payment for contracted hours and attach a monthly log of hours on the
project. To request reimbursement for supplies, use the OCC Deposit/Payment Authorization
form and attach highlighted documentation.




6
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 29 of 51




                    EXHIBIT B
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 30 of 51
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 31 of 51




                    EXHIBIT C
ase 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 32 of
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 33 of 51




                    EXHIBIT D
ase 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 34 of
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 35 of 51




                    EXHIBIT E
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 36 of 51
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 37 of 51




                     EXHIBIT F
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 38 of 51
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 39 of 51
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 40 of 51
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 41 of 51
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 42 of 51
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 43 of 51
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 44 of 51




                    EXHIBIT G
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 45 of 51
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 46 of 51




                    EXHIBIT H
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 47 of 51
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 48 of 51
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 49 of 51
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 50 of 51
Case 1:22-cv-21858-XXXX Document 1 Entered on FLSD Docket 06/16/2022 Page 51 of 51
